     Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 1 of 22 PageID #:95




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA                   )
                                            )
                                                No. 20 CR 443
                                            )
            v.                              )
                                                Honorable Robert W. Gettleman
                                            )
                                            )
 JOHN SEIWERT                               )

                        GOVERNMENT’S RESPONSE TO
                 DEFENDANT’S MOTION TO SUPPRESS STATEMENT

       The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby responds to

defendant’s motion to suppress the statements he made to law enforcement. Dkt. 50.

Because defendant’s statements to law enforcement were voluntary, the government

respectfully requests that defendant’s motion be denied without a hearing.

I.     BACKGROUND

       A.        Factual Background

Search Warrant Execution

       On July 30, 2020, U.S. Magistrate Judge M. David Weisman signed a warrant

authorizing the search of the residence located at 8830 Golfview Drive in Orland

Park, Illinois. Ex. A ¶ 1 (ATF ROI 47). Later that same day, at approximately 2:25

p.m., law enforcement officers executed the warrant. Id. After knocking failed to

result in anyone answering the front door, investigators opened the door with tools.

Id. ¶ 2. And after entering the home, investigators encountered defendant, who was

“irate, yelling, and flailing his arms.” Id. Defendant was also observed making furtive
      Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 2 of 22 PageID #:96




movements with his hands, and investigators handcuffed him while the entry team

secured the residence. Id. Investigators also encountered Individual A in the kitchen.

Id. Individual A complied with law enforcement’s requests and was not handcuffed.

Id.

        Once investigators conducted a sweep of the residence, defendant and

Individual A were escorted to the front of the residence. Id. After it appeared that

defendant had calmed down, ATF Special Agent David LaMonte removed the

handcuffs. Id. ¶ 3. Investigators told defendant and Individual A that they were not

under arrest and were free to leave, which they each acknowledged. Id. Individual A

was permitted, at her request, to reenter the residence escorted by law enforcement

to retrieve a pack of cigarettes and her phone. Id. At defendant’s request, officers

retrieved his dog and his cell phone from the residence. Id. ¶ 4. As explained below,

defendant’s dog traveled with defendant to the station. Agent LaMonte took

possession of defendant’s cell phone pursuant to the search warrant, which

specifically authorized its seizure and subsequent search. Id.

        Agent LaMonte asked defendant and Individual A if they would be willing to

speak with law enforcement at the Orland Hills Police Department. Ex. B, at 3 (MPD

report). Agent LaMonte advised defendant and Individual A that they were not in

handcuffs, not under arrest, and were free to leave at any time. Id. Both

acknowledged they were free to leave and agreed to accompany law enforcement to

the Orland Hills Police Department, where they could speak in private. Id.


                                          2
    Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 3 of 22 PageID #:97




      During a consensual pat-down of defendant before defendant entered an

unmarked police vehicle, Agent LaMonte located $600 on defendant’s person. Id.

Defendant explained that he planned to use $60 to purchase “dope” from a drug

dealer, whom defendant identified by an initial, but that the dealer probably saw law

enforcement and left. Id.

Transport to Orland Hills Police Department

      Defendant and Individual A were transported to the Orland Hills Police

Department in the unmarked police vehicle, which was equipped with audio and

video recording equipment that was activated during the trip.

      Both defendant and Individual A entered the back seat of the vehicle without

handcuffs and unaided by law enforcement. Ex. C, at 00:40-2:00 (vehicle footage).

Individual A was holding a pack of cigarettes and a lighter; defendant was

accompanied by his dog. Id. Before the vehicle’s doors were closed, Agent LaMonte

asked defendant and Individual A whether they needed any “medication or anything.”

Id. Both indicated they did not. Id.

      After the door was closed, and before Agent LaMonte and Midlothian Police

Department Officer Matthew Kickert entered the vehicle, defendant and Individual

A had a brief conversation during which defendant asked whether law enforcement

was “seizing all the fucking guns,” and stated that he did not know “where [he] put

the dope at.” Ex. B, at 3 (MPD report). Defendant and Individual A then discussed

the location of the dope, and whether defendant would be charged with a crime, with


                                         3
       Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 4 of 22 PageID #:98




defendant stating, “I don’t wanna get charged for anything like that dumbass.” Id.

         When Agent LaMonte entered the vehicle, he thanked defendant and

Individual A for cooperating, indicated that their discussions would take time, and

added that they might as well go sit somewhere air conditioned. Ex. C, at 5:40-5:49

(vehicle footage). Defendant and Individual A indicated that they did not have much

information to share. Id. at 5:49-6:03. Agent LaMonte responded that he could get

them a bottle of water at the police department, and that they could get a “smoke out

front” and “relax.” Id. at 5:49-6:12. Defendant then asked Agent LaMonte “what kind

of weed [he] smoke[d]” and laughed after posing the question. Id. at 6:12-6:25.

         Soon thereafter, defendant asked Agent LaMonte if they were going to the

Orland Park Police Department. Id. at 6:47-7:05. Agent LaMonte advised defendant

they were going to the Orland Hills Police Department because it was Tim

McCarthy’s (the then-Orland Park Police Department Chief) last day and they were

having a “big send-off” for him at the Orland Park Police Department. Id. Defendant

responded, “I know T-Mac,” and later added that “T-Mac” “took a bullet for Reagan.” 1

Id. Below is a still image taken from the video capturing this exchange, depicting

defendant smiling and in a relaxed posture:




1See Mike Nolan, “Orland Park police Chief Tim McCarthy, the Secret Service agent shot
while protecting President Reagan, to retire after 26 years,”Chicago Tribune, July 1, 2020,
available at https://www.chicagotribune.com/suburbs/daily-southtown/ct-sta-orland-park-
police-chief-retire. (last visited June 24, 2021).
                                            4
    Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 5 of 22 PageID #:99




After defendant commented that his sister was going to be “so fucking pissed,” Agent

LaMonte reminded defendant that he was not under arrest. Id. at 7:32-8:10.

Defendant responded, “I know that,” and then asked Agent LaMonte if law

enforcement could leave anything they found “drug-wise” in the residence. Id.

      During the trip, Agent LaMonte asked defendant whether “we have treated

you fairly today,” to which defendant responded, “yes, sir,” then asked Agent LaMonte

what investigators found in his house. Id. at 8:55-9:12. After Officer Kickert indicated

that investigators probably had not even started searching the residence because

there was “stuff everywhere,” Individual A stated that defendant’s dad “was a

hoarder.” Id. at 9:12-9:23. Agent LaMonte expressed his condolences for the passing

of defendant’s father. 2 Id. at 9:23-9:55.


2According to publicly available information, defendant’s father passed away in late June
2020.
                                             5
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 6 of 22 PageID #:100




      Defendant asked whether officers found crack cocaine in the residence and

added that he did not recall “where he put it.” Id. at 9:55-10:30. Officer Kickert told

defendant that they did find crack in his house, but that he was “still not in

handcuffs,” to which defendant responded that he was a “user, not a drug dealer,”

and that “it would be different if [he] was a fucking drug dealer.” Id. at 10:30-10:45.

      Later during the drive, Agent LaMonte asked defendant how his dog was

doing, and they had a brief exchange about the dog. Id. at 11:20-11:45. Defendant

then stated that he was “so fucking tired” and closed his eyes while Individual A

talked about dogs. Id. at 11:45-12:45. Defendant then opened his eyes, again stated

that he was tired and that he “doesn’t know shit about nothing,” and commented that

his sister was going to “fucking kill [him],” id. at 12:45-13:05, before closing his eyes

for the remainder of the trip to the police department. Id. at 13:05-16:30. Upon the

opening of the vehicle door, defendant opened his eyes, picked up his dog, and walked

out of the vehicle without assistance. Id. at 16:30-16:35.

Interview at the Orland Hills Police Department

      After arriving at the Orland Hills Police Department, defendant was escorted

to an interview room equipped with video and audio recording equipment. Defendant

walked into the room on his own without handcuffs and holding a bottle of water. At

the start of the interview, Agent LaMonte reminded defendant that he was not under

arrest, to which defendant responded, “I know I’m not.” Ex. D, at 2:50-2:55 (first

interview video). Agent LaMonte also told defendant that the door was unlocked and


                                           6
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 7 of 22 PageID #:101




that defendant was “welcome to” leave, but added that he did not think that would

happen because defendant had so far been a “cool dude.” Id. at 2:55-3:25.

      Agent LaMonte read defendant his Miranda rights and the waiver language

from an “Advice of Rights and Waiver” form. Id. at 3:25-4:30. Defendant nodded his

head as the language was read, and confirmed that Agent LaMonte had not promised

him anything. Id. Defendant then signed and dated the waiver without hesitation or

qualification. Id.; see also Ex. E (Advice of Rights and Waiver form). Defendant also

agreed that Agent LaMonte had “treated him right” and was “doing his job.” Ex. D,

at 4:30-4:45 (first interview video).

      As captured in the video footage, at no point during the interview that followed

defendant’s waiver of his Miranda rights did Agent Lamonte or Officer Kickert raise

their voices towards defendant. They remained in their chairs across the table from

defendant. They did not make any threats or promises to defendant. Defendant

remained attentive, and provided detail about his involvement in narcotics dealing

that reflected that he was acting knowingly and voluntarily.

      Specifically, per the video evidence, the following occurred during the

interview.

      At the start of the interview, defendant rested his head on the table, but

assured Agent LaMonte that he was listening. Id. at 4:45-4:55. Agent LaMonte

requested background information, such as defendant’s social security number, which

defendant provided. Id. at 4:55-5:30. Soon thereafter, Agent LaMonte asked


                                          7
      Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 8 of 22 PageID #:102




defendant to sit up, which defendant did while explaining that he was tired because

he was up all night cleaning. Id. at 5:30-5:43. Agent LaMonte asked defendant when

he “last used”; defendant admitted that he did so a couple hours ago. Id. at 5:43-5:53.

Agent LaMonte asked defendant if he was “all right now,” and defendant responded,

“yeah, I guess.” Id.

        Defendant told Agent LaMonte about his 20-year history of daily drug use,

including his use of crack cocaine earlier that day. Id. When defendant appeared to

ask why they were discussing his drug history, Agent LaMonte told defendant that

he would see if he could provide defendant with “some referrals for some help.” After

defendant appeared to indicate that he did not need help, Agent LaMonte stated, “I

don’t like seeing this, dude. Your dad is part of the blue family…I think your dad

would appreciate us at least trying to direct you to something, and whether or not

you take it, you’re a man.” Id. at 7:00-7:25. During this exchange, defendant stated

that he “was going to be a cop, too,” but that the degree requirements were changed.

Id.

        The discussion then turned to a safe, containing numerous guns, in defendant’s

residence. Id. at 7:25-11:00. Defendant signed a written consent to search his phone

so that agents could obtain his sister’s phone number and seek her assistance in

accessing the safe. Id. Defendant then provided information regarding the firearm

and drug-related activity of Individual B, including details regarding estimated dates

of certain events. Id. at 11:00-13:40. Defendant also provided details about an


                                           8
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 9 of 22 PageID #:103




incident in which Individual B took a gun from him. Id. at 13:40-19:00.

      During the interview, defendant alternated between sitting up and resting his

head on the table. Defendant also yawned and appeared tired during the interview.

Below is a still image taken from the interview video that shows defendant sitting up

as he identified individuals in photographs:




During this same portion of the interview, when Agent LaMonte indicated that he

could try to refresh defendant’s recollection if defendant did not remember something,

defendant appeared to state that he remembered “everything,” and referenced being

a “functioning addict.” Id. at 19:15-19:45.

      When asked what he knew about Individual B’s background, defendant

initially stated that he did not know “shit” about Individual B, id. at 20:45-21:00, but
                                           9
    Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 10 of 22 PageID #:104




then provided information about text messages he exchanged with Individual B,

including messages containing addresses that defendant admitted were locations to

which he had delivered drugs at the direction of Individual B. Id. at 19:45-30:40.

       Later during the interview, when Agent LaMonte asked about two other

individuals, defendant refused to provide information, stating that he did not “want

the shit to come back to him, really.” Id. at 30:40-31:50. Defendant continued to

answer questions about his text messages with Individual B, however, and provided

additional details about Individual B taking a gun from him, including that he

expected Individual B to provide him with drugs in exchange at a later point. 3 Id. at

31:50-35:00. During this discussion, defendant explained that Individual C asked him

to provide a false affidavit stating that he left the gun at Individual B’s residence,

and identified for Agent LaMonte the location at which he met with Individual C in

connection with her request. Id. at 35:00-38:25. Defendant explained that he did not

provide the false affidavit because he was “not an idiot” and “did not want to get

caught up in this bullshit.” Id. at 38:25-39:10. Defendant further explained that he

and others were doing work for Individual B, and that Individual B was paying them

with drugs. Id. at 39:10-39:35.

       In response to questions about a text message he sent to Individual B

containing an image of money, defendant denied being a drug dealer. Id. at 39:35-

43:10. Defendant was then asked who was involved in Individual B’s operation;


3Individual B was charged in a federal indictment with possessing the gun he obtained from
defendant.
                                           10
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 11 of 22 PageID #:105




defendant indicated that Individual B worked on his own and denied knowing

Individual B’s source of supply. Id. at 43:10-43:35. Defendant also denied knowing

about others who were involved in drug dealing. Id. at 44:40-44:45.

      The interview then transitioned to other topics. Defendant and Agent LaMonte

shared a laugh after Agent LaMonte stated that San Diego (the apparent city in

which defendant last received drug treatment) was “the best city in the world,” a

contention with which defendant disagreed. Id. at 44:45-46:20. In response to

questions about a photograph of a dresser found at his residence, defendant

commented that he had found old photographs, from the 1980s, that depicted the

same dresser, and provided his exact address in the 1980s. Id. at 46:30-47:40.

Defendant also summarized other past residences. Id. at 47:40-48:20.

      Later in the interview, Agent LaMonte asked defendant how his drug use

affected his relationship with his father; defendant indicated that it had affected his

relationship with his entire family. Id.

      The interview then turned back to narcotics trafficking and guns. When asked

about other drug dealers, defendant provided general information about Individual

D, but stated that he did not really know Individual D. Id. at 48:20-49:11. Defendant

again denied knowing who supplied narcotics to Individual B, but identified two

individuals who helped Individual B cut and weigh narcotics, and added that he

“helped them a little bit.” Id. at 49:00-50:15. Agent LaMonte asked defendant who

else had defendant’s father’s guns and added that defendant’s father would not want


                                           11
    Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 12 of 22 PageID #:106




his guns on the streets of Chicago; defendant responded, “nobody.” Id. at 50:15-50:30.

       Soon thereafter, Agent LaMonte told defendant that he could sit outside while

law enforcement spoke with Individual A. Id. at 50:30-52:30. Defendant stood up on

his own, walked to the door, opened it, and exited the room with Officer Kickert

behind him. Id. Defendant later reentered the interview room to ask Agent LaMonte

if he could help him expunge a ticket. Id. at 52:30-53:55. Below is a still image taken

from the interview video footage capturing defendant making his request, again

showing defendant to be attentive and not inebriated: 4




After their interview of Individual A, the interviewing officers asked defendant to

answer additional questions. As defendant walked back into the room on his own and

without handcuffs, Agent LaMonte stated, “sorry, man, I know you’re tired, we woke

you up.” Ex. F, at 00:35-00:45 (second interview video). Agent LaMonte then



4Agent LaMonte told defendant that he did not have authority to get the ticket expunged. Id. at
53:00-53:55.
                                                12
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 13 of 22 PageID #:107




explained that he had additional questions about defendant’s text messages with

Individual B—namely, a text message sent with a photograph of a gun on defendant’s

leg. Id. at 00:45-1:15. Before Agent LaMonte was able to locate a copy of the text

message, defendant recalled the specific message. Id. at 1:15-2:15. Defendant also

identified the caliber of a gun in the photograph, the length of the gun’s barrel, and

its price. Id. Defendant estimated that there were over 100 guns in the safe at his

residence, and that his father (the owner of the guns) kept guns throughout the house.

Id. at 2:15-3:15. Defendant then provided additional information about Individual B.

Id. at 3:15-6:45.

      Before walking out of the room at the end of the interview, Agent LaMonte

offered defendant a bottle of water, which defendant declined. Id. at 6:45-7:00.

Defendant asked if he could go smoke. Id. Agent LaMonte reminded defendant that

the door was unlocked, and stated, “yeah, go smoke.” Id.

      Following the interview, defendant left the interview room and remained in

the lobby of the police department. Ex. G ¶ 5. (ATF ROI 48). Defendant asked Officer

Kickert, who was standing nearby, if officers “can’t just leave the dope? I’m gonna be

sick if I don’t get any.” Id. Shortly thereafter, defendant was arrested in the lobby.

Id. ¶ 6. Defendant was handcuffed and transported to the Orland Park Police

Department for housing pending his appearance in federal court. Id. ¶¶ 6-9.




                                         13
      Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 14 of 22 PageID #:108




         B.    Procedural History

         On July 31, 2020, defendant was charged by complaint with being an unlawful

user of a controlled substance in possession of firearm. Dkt. 1. The grand jury later

returned an indictment charging defendant with the same offense. Dkt. 13.

         C.    Defendant’s Motion to Suppress

         On May 27, 2021, defendant moved to suppress the statements he made to law

enforcement on July 30, 2020. Dkt. 50 (“Mot.”). In his motion, defendant argues that

the interviewing officers coerced his statements because he was under the influence

of drugs. Mot. at 7. Defendant also contends that his statements were involuntary

because the interviewing officers referenced his father’s status as a former member

of law enforcement. Id.

II.      ARGUMENT

         As reflected in the video footage, defendant provided detailed responses to

some questions, declined to answer others, and confirmed that his drug use did not

impair his ability to recall information and that he was a “functioning addict.” Law

enforcement did not make any threats or promises to defendant, or otherwise coerced

him to speak. Because the objective evidence demonstrates that defendant

voluntarily spoke with law enforcement, his motion should be denied without a

hearing.




                                           14
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 15 of 22 PageID #:109




       A.     Defendant’s Statements Were Voluntary.

      It is the government’s burden “to prove the voluntariness of [a defendant’s]

statement by a preponderance of the evidence.” United States v. Villalpando, 588 F.3d

1124, 1128-29 (7th Cir. 2009) (citing Lego v. Twomey, 404 U.S. 477, 489 (1972)). “A

confession is voluntary if in light of the totality of circumstances, it was not secured

through psychological and physical intimidation but rather was the product of a

rational intellect and a free will.” United States v. Charles, 476 F.3d 492, 497 (7th

Cir. 2007) (internal quotation marks and citation omitted). “Such circumstances

include whether the defendant was read his Miranda rights, the defendant’s age, the

duration and nature of questioning, and whether the defendant was punished

physically.” Id. (internal quotation marks and citation omitted). Trickery, deceit, even

impersonation do not render a confession inadmissible, “unless government agents

make threats or promises.” Id. Indeed, “[c]onfessions or other admissions obtained in

the course of an interrogation are deemed involuntary and therefore inadmissible

only if they are procured by threats or promises.” Id.

      The totality of the circumstances, as evident from the recorded interview,

demonstrates that defendant’s statements were voluntary.

      First, defendant was not “in custody” for Miranda purposes when interviewed

because there was no “formal arrest or a restraint on his or her freedom of movement

of the degree associated with a formal arrest.” United States v. Patterson, 826 F.3d

450, 455 (7th Cir. 2016) (internal quotation marks and citation omitted). Defendant


                                          15
    Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 16 of 22 PageID #:110




was advised that he was not under arrest, asked to voluntarily accompany the officers

to the police station, permitted to bring his dog with him to the police station, not

handcuffed during transport, and told that he could leave the station via an unlocked

door at any time. Indeed, before being presented with a Miranda waiver, defendant

confirmed that he understood that he was not under arrest, and was advised that he

was free to leave through the unlocked door behind him. Ex. D, at 2:55-3:25 (first

interview video). Nonetheless, out of an abundance of caution, defendant was advised

of his Miranda rights, and validly waived any such rights in writing.

       The government has a relatively low bar to clear in proving an intelligent

waiver of Miranda rights. Collins v. Gaetz, 612 F.3d 574, 588 (7th Cir. 2010). “It is

only when the evidence in the case shows that the defendant could not comprehend

even the most basic concepts underlying the Miranda warnings that the courts have

found an unintelligent waiver.” Id. Here, by contrast, defendant nodded his head as

Agent LaMonte read him the waiver language, orally confirmed that Agent LaMonte

had not made any promises to him, and signed the waiver. See Ex. D, at 1:45-4:40

(first interview video). Defendant’s words and actions demonstrate that he

understood what potential rights he had when he signed the Miranda waiver. 5




5 Defendant’s later responses to questions also reflect his understanding of his potential
rights. When asked about Individual B, defendant tried to minimize his knowledge of
Individual B. Id. at 20:45-21:00. Defendant also tried to minimize his involvement in cutting
and weighing narcotics for Individual B. Id. at 49:00-50:15. These responses reflect that
defendant knew the information he provided regarding Individual B (and his relationship
with Individual B) could be used against him.
                                             16
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 17 of 22 PageID #:111




      Second, the interviewing officers did not use coercion of any sort. “The issue of

coercion is determined from the perspective of a reasonable person in the position of

the suspect.” United States v. Haddon, 927 F.2d 942, 946 (7th Cir. 1991) (internal

quotation marks and citation omitted). Before they left the residence, law

enforcement retrieved defendant’s dog and checked to see if defendant needed any

medication. During the interview, interviewing officers were polite and did not raise

their voices at defendant. They remained seated during the interview and did not

physically intimidate defendant. They allowed defendant to take a smoke break. They

provided defendant with water and did not handcuff him. Ex. D, at 1:45-2:50 (first

interview video). They did not threaten or promise defendant anything in exchange

for information. In short, interviewing officers treated defendant with courtesy and

respect.

      Contrary to defendant’s claims, at no point did the interviewing officers

suggest that defendant was receiving (or would receive) special treatment because he

was part of the “blue family.” See Ex. C (vehicle footage), Ex. D (first interview video),

Ex. F (second interview video). While a false promise of leniency may render a

statement involuntary, it must be of the sort that would render defendant unable to

make a rational decision “by distorting the alternatives among which the person

under interrogation is being asked to choose.” See, e.g., Villalpando, 588 F.3d at 1128-

29 (rejecting claim that false promise of leniency was made by officer who stated she

would “sit down” with law enforcement to “work this out” and also said “we don’t have


                                           17
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 18 of 22 PageID #:112




to charge you”). Here, although defendant’s father was referenced a few times during

the interview, these references were limited and did not equate to a promise that

defendant would receive any special treatment in the event of potential criminal

charges. See Ex. D, at 7:00-7:25 (father mentioned in reference to drug referral); id.

at 47:40-48:20 (father mentioned in connection with history of drug use); id. at 50:15-

50:30 (father mentioned in reference to location of father’s guns).

      Defendant’s efforts to reframe the courteous and respectful treatment he

received, along with Agent LaMonte’s condolences for the death of defendant’s father

and offer to provide drug treatment referrals, as a form of psychological coercion are

legally unsupported. Even assuming (as defendant does) that these actions were

calculated to promote cooperation, they do not rise to the level of coercion. See Dassey

v. Dittmann, 877 F.3d 297, 316 (7th Cir. 2017) (“officers may deceive suspects through

appeals to a suspect’s conscience, by posing as a false friend, and by other means of

trickery and bluff”).

      Defendant’s assertion that his statements were involuntary because he was

under the influence of crack cocaine at the time of the interview fares no better. Per

defendant’s comments at the time of his interview, he used crack a few hours before

law enforcement officers arrived at his house. But even assuming the truth of this

statement, defendant’s asserted drug use alone does not establish involuntariness.

See United States v. Walker, 272 F.3d 407, 413 (7th Cir. 2001).




                                          18
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 19 of 22 PageID #:113




      As an initial matter, “coercive police activity is a necessary predicate to the

finding that a confession is not ‘voluntary’ within the meaning of the Due Process

Clause.” Colorado v. Connelly, 479 U.S. 157, 167 (1986); Stechauner v. Smith, 852

F.3d 708, 718 (7th Cir. 2017). “A diminished mental state is only relevant to the

voluntariness inquiry if it made mental or physical coercion by the police more

effective.” United States v. Chrismon, 965 F.2d 1465, 1469 (7th Cir. 1992) (citation

omitted). Here, there was no coercion: As demonstrated above, there was no physical

coercion, and interviewing officers’ courteous and respectful treatment of defendant,

along with Agent LaMonte’s condolences for the death of defendant’s father and offer

to provide drug treatment referrals, does not constitute mental coercion.

      In addition, the video recording—including defendant’s physical condition,

demeanor, ability to recall and explain detailed information and historical events,

and refusal to answer certain questions—establishes that, despite any potential

intoxication arising from his drug use, defendant was coherent, capable of rational

thought, aware of his rights and, therefore, acted knowingly and voluntarily. See

United States v. Reynolds, 367 F.3d 294, 297 (5th Cir. 2004) (defendant’s meth use an

hour before interview and alleged sleep deprivation did not make statements

involuntary); United States v. Howard, 532 F.3d 755, 763 (8th Cir. 2008) (use of drugs

did not render confession involuntary where defendant was coherent); United States

v. Gulledge, 2020 WL 6737450, at *2-4 (S.D. Ind. Sept. 14, 2020) (finding statements

voluntary where defendant was alert and coherent during the interview, responded


                                         19
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 20 of 22 PageID #:114




to questions posed to him, and did not attempt to stop the interview); see also United

States v. Fields, 2009 WL 3029726, at *10 (E.D.N.C. Sept. 21, 2009) (Miranda waiver

of defendant, a heroin addict, valid despite drug use in light of defendant’s

“significant tolerance to the drug” and recording that showed defendant speaking

“logically and clearly”).

       To be sure, defendant appeared tired during the interview. But his apparent

tiredness, or his drug use, did not compromise his mental state or his ability to

interact with interviewing officers. The video recording clearly establishes that

defendant was acting rationally and exercised his will when interacting with law

enforcement. He freely conversed with the interviewing officers. He spoke logically.

He answered questions in a coherent manner. He appeared to understand the

questions. He gave detailed answers. Defendant was able to recall, for example, his

social security number (id. at 4:55-5:30), the exact address of where he lived in the

1980s (id. at 46:30-47:40), the year he moved to Maryland (id. at 47:40-48:20), and

the caliber of a specific gun and the length of its barrel (Ex. F, at 1:15-2:15).

       The substance of defendant’s answers also reflect that he was coherent.

Defendant actively discussed Individual B and provided detail about Individual B’s

narcotics operation. By contrast, defendant refused to provide information about

certain other narcotics suppliers, citing fear of retaliation. Ex. D, at 30:40-31:50 (first

interview video). This calculation reflects that defendant understood the

consequences of his statements, and that his will was not overborne by law


                                            20
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 21 of 22 PageID #:115




enforcement. See United States v. Carson, 582 F.3d 827, 834 (7th Cir. 2009) (affirming

ruling that confession was voluntary despite defendant’s claim that he had overdosed

on heroin at the time officers administered rights where defendant chose to answer

some questions and not others).

      Defendant’s mental acuity during the interview is further evidenced by

defendant’s request that Agent LaMonte help him expunge a ticket. Ex. D, at 52:30-

53:55 (first interview video). This request reflects defendant’s rational attempt to

leverage his interaction with law enforcement to obtain a personal benefit. This

attempt, along with defendant’s other self-interested behavior during the interview,

demonstrates that defendant exercised his free will and voluntarily spoke with law

enforcement.

       B.      An Evidentiary Hearing Is Unnecessary.

      Defendant’s allegations are based on statements made by law enforcement

during the trip to the police station and interview, both of which were video recorded

in their entirety. Defendant does not allege that law enforcement made any

statements or took any actions relevant to his motion that are not captured on those

recordings. Accordingly, there are no disputed issues of material fact and an

evidentiary hearing is not necessary. United States v. Curlin, 638 F.3d 562, 564 (7th

Cir. 2011). As set forth above, the Court must determine whether, as a legal matter,

law enforcement’s actions towards defendant, a longtime crack cocaine addict, were

sufficient to render his statements involuntary. That determination can be made


                                          21
   Case: 1:20-cr-00443 Document #: 52 Filed: 07/06/21 Page 22 of 22 PageID #:116




without a hearing.

III.   CONCLUSION

       For the reasons stated above, defendant’s motion to suppress should be denied

without an evidentiary hearing.

                                              Respectfully submitted,

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                                       By:    /s/ Ramon Villalpando
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                                         22
